               Case 2:12-cr-00180-TLN Document 99 Filed 07/23/13 Page 1 of 2


     The Law Offices of Olaf W. Hedberg
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 4

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 6                           IN THE UNITED STATES DISTRICT COURT

 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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 9
                                                      Case Number: 12-CR-00180 MCE
10   PEOPLE OF THE STATE OF CALIFORNIA
                                                      DEFENDANT MOHAMMAD SHABAZZ
11                                                    KHAN'S WAIVER OF PERSONAL
                                                      APPEARANCE
12   V.

13   MOHAMMAD SHABAZZ KHAN

14

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17          Pursuant to Rule 43 of the Federal Rules of Criminal Procedure defendant,
18   MOHAMMAD SHABAZZ KHAN, hereby waives the right to be present in person in open court
19   upon the hearing of any motion or other proceeding in this case, including, but not limited to,
20   when the case is set for trial, when a continuance is ordered, and when any other action is taken
21   by the court before or after trial, except upon arraignment, plea, empanelment of jury and
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     imposition of sentence. Defendant hereby requests the Court to proceed during every absence of
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     his which the Court may permit pursuant to this waiver; agrees that his interests will be deemed
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     represented at all times by the presence of his attorney, the same as if the defendant were
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               Case 2:12-cr-00180-TLN Document 99 Filed 07/23/13 Page 2 of 2



 1   personally present; and further agrees to be present in court ready for trial any day and hour the

 2   Court may fix in his absence.

 3          The defendant further acknowledges that he has been informed of his rights under Title
 4   18 U.S.C. §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
 5   dates under that Act without his personal presence. The original signed copy of this waiver is
 6   being preserved by the attorney undersigned.
 7   Dated: July 9, 2013
 8
                                                            /s/ Mohammad Shabazz Khan
                                                          (Original retained by attorney)
 9

10
                    I agree and consent to my client’s waiver of appearance.
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12
     Dated: July 9, 2013                                         /s/ Olaf W. Hedberg
13                                                        Olaf W. Hedberg
                                                          Attorney for Mohammad Shabazz Khan
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            IT IS SO ORDERED.
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     Dated: July 18, 2013
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